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                                        EXHIBIT B

                                    Esposito Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                                 Chapter 11

FTX TRADING LTD., et al., 1                                            Case No. 22-11068 (JTD)

         Debtors.                                                      (Jointly Administered)



               DECLARATION OF ROB ESPOSITO IN SUPPORT OF
    DEBTOR’S FOURTH (NON-SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN
                  DUPLICATE CLAIMS (CUSTOMER CLAIMS)

         I, Rob Esposito, hereby declare under penalty of perjury:

                     1.    I am a Senior Director at Alvarez & Marsal North America, LLC

(“A&M”), a restructuring advisory services firm specializing in interim management, crisis

management, turnaround consulting, operational due diligence, creditor advisory services and

financial and operation restructuring.

                     2.    I have more than 15 years of restructuring experience across various

industries, including broadcasting, oil & gas, manufacturing, pharma, transportation, automotive,

retail, telecommunications, and healthcare.

                     3.    Since joining A&M, I have been involved in numerous Chapter 11

restructurings, including Alpha Natural Resources, Sandridge Energy, Westmoreland Coal, Endo




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     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number
     are 3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases,
     a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
     provided herein. A complete list of such information may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of
     Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill
     Road, St. John’s, Antigua and Barbuda.


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International, Cumulus Media, Coach America, Cooper-Standard Automotive, Ascena Retail and

Exide Technologies.

                     4.        I submit this declaration (the “Declaration”) in support of the Debtors’

Fourth (Non-Substantive) Omnibus Objection to Certain Duplicate Claims (Customer Claims)

(the “Objection”). 2 I am not being compensated separately for this testimony other than through

payments received by A&M as financial advisor retained by FTX Trading Ltd. and its affiliated

debtors and debtors-in-possession (collectively, the “Debtors”).

                     5.        Except as otherwise indicated herein, all of the facts set forth in this

Declaration are based upon my personal knowledge, my review of relevant documents,

information provided to me by the Debtors’ management, the Debtors’ and other Debtor

professionals, including the A&M team, involved in advising the Debtors in the above-captioned

case (the “Chapter 11 Case”). If called upon to testify, I could and would testify to the facts set

forth herein on that basis. I am authorized to submit this Declaration on behalf of the Debtors.

                     6.        The Duplicate Claims subject to the Objection were reviewed and

analyzed in good faith using due diligence by appropriate personnel of the Debtors, A&M, and

the Claims Agent. Indeed, the Debtors and their advisors have spent months reviewing and

analyzing proofs of claim and any supporting documentation filed against the Debtors. These

efforts resulted in, among other things, identifying the Duplicate Claims set forth in Schedule 1

to Exhibit A of the Objection.

                          7.   Based on the Debtors’ and their advisors’ ongoing analysis and review, the

Debtors and their advisors have determined that certain claimants submitted two distinct, but



2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.


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essentially identical, claims. Based on this review, each of the Duplicate Claims listed in

Schedule 1 includes details indicating that it is based on the same underlying claim as its

corresponding Surviving Claim. Therefore, I believe that the Duplicate Claims should be

disallowed and expunged in their entirety, and only the Surviving Claims should survive.

                     8.     If the Duplicate Claims are not disallowed, the corresponding claimants

may receive double recovery from the Debtors’ estates on account of both the Duplicate Claims

and the Surviving Claims. Further, I believe the administration of these claims would be more

efficient and fair to all parties if the Debtors have the ability to expunge and disallow the

Duplicate Claims in their entirety.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.

 Dated: November 13, 2023                               /s/ Rob Esposito
                                                        Rob Esposito
                                                        Alvarez & Marsal North America, LLC
                                                        Senior Director




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